Case 3:16-md-02738-MAS-RLS Document 692 Filed 09/07/17 Page 1 of 2 PageID: 5116




                            UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON “BABY
 POWDER” and “SHOWER TO SHOWER”
 MARKETING, SALES PRACTICES AND
 PRODUCTS LIABILITY LITIGATION
                                                            MDL NO. 2738 (FLW) (LHG)
 THIS DOCUMENT RELATES TO:

 Faircloth, et al. vs. Johnson & Johnson, et al.
 Case No.: 3:17-cv-6740




                                         NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that a Sort Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

 Cynthia Faricloth.

         This 9th day of September, 2017.

                                                         Respectfully submitted,

                                                         ONDER, SHELTON,
                                                         O’LEARY & PETERSON, LLC

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